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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 TYCO FIRE PRODUCTS LP,                            Civil Action No. 2:23-cv-02384-RMG
                                      Plaintiff,
                       v.

 AIU INSURANCE COMPANY, et al.                     Hon. Richard M. Gergel

                                   Defendants.

                     JOINT MOTION TO DISMISS AFFILIATED FM

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff Tyco Fire Products LP

(“Tyco”), and Defendant Affiliated FM Insurance Company (“Affiliated FM”), stipulate and

jointly move for an unopposed order of dismissal as follows:

       1.      By letter dated February 20, 2024, Tyco and Affiliated FM gave notice that they

had reached a settlement-in-principle of Tyco’s claims in this action. ECF 251.

       2.      Tyco and Affiliated FM have now finalized their settlement agreement.

       3.      Accordingly, Tyco and Affiliated FM jointly request that the Court enter an order

dismissing Tyco’s claims against Affiliated FM with prejudice, in the form substantially similar

to the enclosed Proposed Order.

       4.      Tyco and Affiliated FM understand that no other party to this action opposes this

motion.
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Dated: April 26, 2024

MARON MARVEL BRADLEY ANDERSON                    WILLS MASSALON & ALLEN LLC
& TARDY LLC

By: /s/ Beau L. Inabinet                         By: /s/ Christy Ford Allen

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